              Case 2:07-cr-00441-KJM Document 90 Filed 12/14/09 Page 1 of 2


 1 Tim Warriner (SB#166128)
   Attorney at Law
 2 813 6th St., Suite 450
   Sacramento, CA 95814
 3 (916) 443-7141
   FAX: (916) 441-0970
 4
   Attorney for Defendant,
 5 RICARDO DIAZ GALINDO
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )               No. CR S 07 0441 GEB
10                                       )
                 Plaintiff,              )               STIPULATION AND ORDER
11                                       )               CONTINUING JUDGMENT AND
           v.                            )               SENTENCE DATE
12                                       )
     RICARDO DIAZ GALINDO, et al.,       )
13                                       )
                                         )
14               Defendants.             )
     ____________________________________)
15
            IT IS HEREBY STIPULATED by and between Assistant United States Attorney Heiko
16
     Coppola, for the government, and Tim Warriner, for Mr. Galindo, that the present sentencing
17
     date of January 8, 2010 be continued to February 12, 2010. The parties hereby adopt the
18
     following schedule concerning the presentence investigation report:
19
        Presentence Investigation
20      Report to counsel:                December 31, 2009
21      Informal Objections Due:          January 8, 2010
22      Presentence Investigation
        Report to Court:                  January 15, 2010
23
        Formal objections to
24      Presentence Investigation
        Report due:                       January 22, 2010
25
        Judgment and sentence
26      Date:                             February 12, 2010
27
28                                                  1
            Case 2:07-cr-00441-KJM Document 90 Filed 12/14/09 Page 2 of 2


 1    DATED: December 10, 2009          /s/ Tim Warriner
                                        Attorney for defendant,
 2                                      RICARDO DIAZ GALINDO
 3
      DATED: December 10, 2009          /s/ Heiko Coppola
 4                                      ASSISTANT UNITED STATES ATTORNEY,
                                        FOR THE GOVERNMENT
 5
 6                                             ORDER
 7        GOOD CAUSE APPEARING, it is hereby ordered that judgment and sentencing be
 8    continued to February 12, 2010, at 9:00 a.m. The court adopts the schedule concerning the
 9    presentence report as set forth above.
10
.
Dated: December 11, 2009
11
12
13                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                2
